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Exhibit 1

PLANTIFF JOINT
STATEMENT
PROPOSAL
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PAUL JONES,
Plaintiff,
v. Civil Action No. 3:24-CV-30027
SYNCHRONY FINACIAL d/b/a
SYNCHRONY BANK et al
Defendant.
JOINT STATMENT

This Scheduling Order is intended to provide a reasonable timetable for discovery and motion
practice in order to help ensure a fair and just resolution of this matter without undue expense or
delay.

Timetable for Discovery and Motion Practice

Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it is
hereby ORDERED that:

1. Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must be
completed by 05/25/2024 .
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2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
add new parties or to amend the pleadings to assert new claims or defenses may be filed after:
November 5, 2024.

3. Fact Discovery - Interim Deadlines.
a. All requests for production of documents and interrogatories must be served by
11/21/2024

b. All requests for admission must be served by 11/21/2024.

c. All depositions, other than expert depositions, must be completed by

01/21/2025

d. Final Fact Discovery Deadline. All discovery, other than expert discovery, must be
completed by 12/21/2024

4, Status Conference. A status conference will be held at the court’s discretion.

5. Expert Discovery.

a. Trial experts for the party with the burden of proof must be designated, and the
information contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by June 17, 2025.

b. Rebuttal trial experts must be designated, and the information contemplated by Fed. R.
Civ. P. 26(a)(2) must be disclosed within 60 days of trial expert disclosure.

c. All trial experts must be deposed by August 30, 2025.
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6. Dispositive Motions.
a. Dispositive motions, such as motions for summary judgment or partial summary

judgment and motions for judgment on the pleadings, must be filed by September 18, 2025, with
the opposition due 45 days thereafter. In the case of cross-motions the deadlines and page limits
for the filings other than the Plaintiff’s initial motion are set forth in the Session’s Standing Order
on Summary Judgment Motions unless specifically modified.

7. Initial Pretrial Conference. An initial pretrial conference will be held on

TBD at a.m./p.m. The parties shall prepare and submit a pretrial memorandum in
accordance with Local Rule 16.5(d) five business days prior to the date of the conference.

8. The plaintiff and counsel will confer concerning an agenda of matters to be discussed at the
scheduling conference.

9. The parties do not consent to trial by magistrate.

10. Status Conferences. The Court has scheduled a status conference after (or close to) the close
of fact discovery for case management purposes. Any party who reasonably believes that a
status conference will assist in the management or resolution of the case may request one from
the Court upon reasonable notice to opposing counsel.

11. Additional Conferences. Upon request of counsel, or at the Court’s own initiative, additional
case-management or status conferences may be scheduled.

12. Early Resolution of Issues. The Court recognizes that, in some cases, resolution of one or
more preliminary issues may remove a significant impediment to settlement or otherwise
expedite resolution of the case. Counsel are encouraged to identify any such issues and to make
appropriate motions at an early stage in the litigation.

13. Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.
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Paul Jones /s/ Paul Jones May 10, 2024
79 Thompson Street

Springfield, MA 01109

(413) 302-6079

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CERTIFICATE OF SERVICE

I, the Plaintiff Paul Jones, hereby certify that on this May 10, 2024, a copy of the Attached

Document was served via electronic mail to All Attorneys of Record.

Paul Jones Prose /s/ Paul Jones Dated: May 10, 2024
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DEFENDANTS JOINT
STATEMENT

PROPOSAL
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PAUL JONES,

Plaintiff,
v. Civil Action No. 3:24-CV-30027

SYNCHRONY FINACTAL d/b/a
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Case 3:24-cv-30027-MGM Document 21-1 Filed 05/13/24 Page 11 of 15

2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
add new parties or to amend the pleadings to assert new claims or defenses may be filed after:
NevermbersJune 25, 2024.

3. Fact Discovery - Interim Deadlines.
a. All requests for production of documents and interrogatories must be served by
H48/26/2024

b. All requests for admission must be served by H/248/26/2024.

C. All depositions, other than expert depositions, must be completed by

94241 1/25/2025

d. Final Fact Discovery Deadline. All discovery, other than expert discovery, must be
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4. Status Conference. A status conference will be held at the court’s discretion.

5. Expert Discovery.

a. Trial experts for the party with the burden of proof must be designated, and the
information contemplated by Fed. R. Civ. P. 26(a)(2) must be disclosed, by June 17, 2025.

b. Rebuttal trial experts must be designated, and the information contemplated by Fed. R.
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C. All trial experts must be deposed by August 30, 2025.
Case 3:24-cv-30027-MGM Document 21-1 Filed 05/13/24 Page 12 of 15

6. Dispositive Motions.

a. Dispositive motions, such as motions for summary judgment or partial summary
judgment and motions for judgment on the pleadings, must be filed by Septemsbert8January 31,

2025, with the opposition due 45 days thereafter. In the case of cross-motions the deadlines and
page limits for the filings other than the Plaintiff’s initial motion are set forth in the Session’s
Standing Order on Summary Judgment Motions unless specifically modified.

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TBD at a.m./p.m. The parties shall prepare and submit a pretrial memorandum in
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CERTIFICATE OF SERVICE

I, the Plaintiff Paul Jones, hereby certify that on this May 10, 2024, a copy of the Attached

Document was served via electronic mail to All Attorneys of Record.

Paul Jones Prose /s/ Paul Jones Dated: May 10, 2024
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